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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


                                                        )      Chapter 11
                                                        )
                                                        )      Case No. 19-76260
                                                        )      Case No. 19-76263
In re:                                                  )      Case No. 19-76267
                                                        )      Case No. 19-76268
Absolut Facilities Management, LLC, et al.              )      Case No. 19-76269
                                                        )      Case No. 19-76270
                          Debtors.1                     )      Case No. 19-76271
                                                        )      Case No. 19-76272
                                                        )
                                                        )      (Jointly Administered)


                    STATEMENT OF FINANCIAL AFFAIRS FOR
              ABSOLUT CENTER FOR NURSING AND REHABILITATION AT
                      THREE RIVERS, LLC (CASE NO. 19-76271)




          1
             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266);
Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641);
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and
Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC
(7924).
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UNITED STATES BANKRUPTCY COURT
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                                                          )     Case No. 19-76272-ast
                                                          )
                                                          )     (Jointly Administered)
                                                          )

                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                                  Introduction

        Absolut Facilities Management, LLC and its affiliated debtors and debtors-in-possession
(collectively, the “Debtors”) with the assistance of their advisors, have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements,” and together with the Schedules, the “Schedules and Statements”) with
the United States Bankruptcy Court for the Eastern District of New York (the “Bankruptcy
Court”), pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
       These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statement of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.
        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor (whether

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Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and Rehabilitation at Three
Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC (7924).


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publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.
       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.
        The Debtors and their officers, employees, agents, attorneys, and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors
and their officers, employees, agents, attorneys and financial advisors expressly do not undertake
any obligation to update, modify, revise, or re-categorize the information provided in the
Schedules and Statements or to notify any third party should the information be updated, modified,
revised, or re-categorized. The Debtors, on behalf of themselves, their officers, employees, agents
and advisors disclaim any liability to any third party arising out of or related to the information
contained in the Schedules and Statements and reserve all rights with respect thereto.
        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and professionals.
The representative has not (and could not have) personally verified the accuracy of each such
statement and representation, including, for example and without limitation, statements and
representations concerning amounts owed to creditors and their addresses.
                          Global Notes and Overview of Methodology
 1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
    and accurate Schedules and Statements; however, inadvertent errors or omissions may exist.
    The Debtors reserve all rights to amend or supplement the Schedules and Statements from
    time to time, in all respects, as may be necessary or appropriate, including, without
    limitation, the right to amend the Schedules and Statements with respect to any claim
    (“Claim”) description, designation, or Debtor against which the Claim is asserted; dispute
    or otherwise assert offsets or defenses to any Claim reflected in the Schedules and
    Statements as to amount, liability, priority, status, or classification; subsequently designate
    any Claim as “disputed,” “contingent,” or “unliquidated;” or object to the extent, validity,
    enforceability, priority, or avoidability of any Claim. Any failure to designate a Claim in
    the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
    constitute an admission by the Debtors that such Claim or amount is not “disputed,”
    “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
    liability by the Debtor against which the Claim is listed or against any of the Debtors.
    Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver
    of rights with respect to the Debtors’ chapter 11 cases, including, without limitation,
    issues involving Claims, substantive consolidation, defenses, equitable subordination,


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      recharacterization, and/or causes of action arising under the provisions of chapter 5 of the
      Bankruptcy Code, and any other relevant non- bankruptcy laws to recover assets or avoid
      transfers. Any specific reservation of rights contained elsewhere in the Global Notes
      does not limit in any respect the general reservation of rights contained in this paragraph.
      Notwithstanding the foregoing, the Debtors shall not be required to update the Schedules
      and Statements.
      The listing in the Schedules or Statements (including, without limitation, Schedule
      A/B, Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and
      another Debtor is a statement of what appears in the Debtors’ books and records and does
      not reflect any admission or conclusion of the Debtors regarding whether such amount would
      be allowed as a Claim or how such obligations may be classified and/or characterized in a
      plan of reorganization or by the Bankruptcy Court.
 2. Description of Cases and “as of” Information Date. On September 10, 2019 (the
    “Petition Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the
    Bankruptcy Code. The Debtors are operating their businesses and managing their properties
    as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
    On September 20, 2019, the Bankruptcy Court entered an order directing procedural
    consolidation and joint administration of the Debtors’ chapter 11 cases [Docket No. 48].
      The asset information provided in the Schedules and Statements, except as otherwise
      noted, represents the asset data of the Debtors as of September 10, 2019.
 3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
    an inefficient use of estate assets for the Debtors to obtain current market valuations for
    all of their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and
    Statements reflect net book values as of the close of business on September 10, 2019, in
    the Debtors’ books and records. Additionally, because the book values of certain assets,
    may materially differ from their fair market values, they may be listed as undetermined
    amounts as of the Petition Date. Furthermore, as applicable, assets that have fully
    depreciated or were expensed for accounting purposes may not appear in the Schedules
    and Statements if they have no net book value.
 4. Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
    characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
    unexpired leases, and other items reported in the Schedules and Statements, the Debtors
    may, nevertheless, have improperly characterized, classified, categorized, designated, or
    omitted certain items due to, among other things, the complexity and size of the Debtors’
    businesses.     Accordingly, the Debtors reserve all of their rights to recharacterize,
    reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
    Statements at a later time as is necessary, to the extent appropriate or to the extent additional
    information becomes available, including, without limitation, whether contracts or leases
    listed herein were deemed executory or unexpired as of the Petition Date and remain
    executory and unexpired postpetition, whether claims are secured or unsecured or whether
    claims are entitled to priority or no priority.
 5. Real Property and Personal Property–Leased. In the ordinary course of their businesses,
    the Debtors leased real property and various articles of personal property, including,
    fixtures, and equipment, from certain third-party lessors. The Debtors have made

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      reasonable efforts to list all such leases in the Schedules and Statements. The Debtors
      have made reasonable efforts to include lease obligations on Schedule D (secured debt) to
      the extent applicable and to the extent the lessor filed a UCC-1. However, nothing in the
      Schedules or Statements is or shall be construed as an admission or determination as to
      the legal status of any lease (including whether to assume and assign or reject such lease
      or whether it is a true lease or properly designated as a financing arrangement).
 6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
    the prepetition and post-petition periods based on the information and research
    conducted in connection with the preparation of the Schedules and Statements. As
    additional information becomes available and further research is conducted, the allocation
    of liabilities between the prepetition and post-petition periods may change.
      The liabilities listed on the Schedules do not reflect any analysis of Claims under section
      503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights
      to dispute or challenge the validity of any asserted Claims under section 503(b)(9) of
      the Bankruptcy Code or the characterization of the structure of any such transaction
      or any document or instrument related to any creditor’s Claim.
      The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
      the Schedules and Statements, including, without limitation, goodwill, accrued salaries,
      certain employee benefit accruals, and deferred gains. In addition, certain immaterial
      assets and liabilities may have been excluded.
      The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
      outstanding Claims on a post-petition basis. Prepetition liabilities which have been paid
      post-petition have been excluded from the Schedules and Statements. To the extent the
      Debtors pay any of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Bankruptcy Court, the Debtors reserve all rights to amend and supplement
      the Schedules and Statements and take other action, such as filing claims objections, as is
      necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.
 7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
    “insiders” to include the following: (a) directors; (b) equity holders holding 1% or more of
    the equity interest of the Debtor entities; and (c) relatives of any of the foregoing (to the
    extent known by the Debtors). Entities listed as “insiders” have been included for
    informational purposes and their inclusion shall not constitute an admission that those
    entities are insiders for purposes of section 101(31) of the Bankruptcy Code.
 8. Intercompany and Other Transactions. For certain reporting and internal accounting
    purposes, the Debtors record certain intercompany receivables and payables. Receivables
    and payables among the Debtors are reported as assets on Schedule A/B or liabilities on
    Schedule E/F part 2, as appropriate (collectively, the “Intercompany Claims”).
    Intercompany receivables reported on Schedule A/B 77 and Intercompany claims reported
    on Schedule E/F, part 2, are reported as of August 31, 2019. While the Debtors have used
    commercially reasonable efforts to ensure that the proper intercompany balance is attributed
    to each legal entity, the Debtors and their estates reserve all rights to amend the
    Intercompany Claims in the Schedules and Statements, including, without limitation, to
    change the characterization, classification, categorization or designation of such claims,
    including, but not limited to, the right to assert that any or all Intercompany Claims are, in

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      fact, consolidated or otherwise properly assets or liabilities of a different Debtor entity.
      Although separate Schedules and Statements have been prepared and filed for each of the
      Debtors, certain of the information set forth in the Schedules and Statements has been
      prepared on a consolidated basis. As a result, the Schedules and Statements may not reflect
      all intercompany activity.
 9. Executory Contracts and Unexpired Leases. Although the Debtors made diligent
    attempts to attribute executory contracts and unexpired leases to their rightful Debtors,
    in certain instances, the Debtors may have inadvertently failed to do so due to the
    complexity and size of the Debtors’ businesses.
      Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have
      not necessarily set forth executory contracts and unexpired leases as assets in the Schedules
      and Statements, even though these contracts and leases may have some value to the
      Debtors’ estates. The Debtors’ executory contracts and unexpired leases have been set forth
      in Schedule G.
 10. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements are
     presented without consideration of any materialman’s or mechanic’s liens.
 11. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
     E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
     “executory” or “unexpired,” does not constitute an admission by the Debtors of the
     legal rights of the Claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
     such Claims, or contracts or leases, to file claim objections in respect of same, or to exercise
     their rights to setoff against or other rights with respect to such Claims.
 12. Claims Description. Schedules D and E/F permit each Debtor to designate a Claim
     as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
     given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
     does not constitute an admission by that Debtor that such amount is not “disputed,”
     “contingent,” or “unliquidated,” or that such Claim is not subject to objection. Moreover,
     listing a Claim does not constitute an admission of liability by the Debtors.
 13. Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
     may not have listed all of their causes of action or potential causes of action against third-
     parties as assets in the Schedules and Statements, including, without limitation, causes of
     actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
     relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all
     of their rights with respect to any cause of action (including avoidance actions),
     controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
     contracts or for breaches of duties imposed by law or in equity, demand, right, action,
     lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
     power, privilege, license, and franchise of any kind or character whatsoever, known,
     unknown, fixed or contingent, matured or unmatured, suspected or unsuspected,
     liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
     directly or derivatively, whether arising before, on, or after the Petition Date, in contract
     or in tort, in law, or in equity, or pursuant to any other theory of law (collectively,
     “Causes of Action”) they may have, and neither these Global Notes nor the Schedules and
     Statements shall be deemed a waiver of any Claims or Causes of Action or in any way

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      prejudice or impair the assertion of such Claims or Causes of Action.
 14. Summary of Significant Reporting Policies. The following is a summary of significant
     reporting policies:
                 a.     Undetermined Amounts. The description of an amount
                        as “unknown,” “TBD” or “undetermined” is not
                        intended to reflect upon the materiality of such amount.

                 b.     Totals. All totals that are included in the Schedules and
                        Statements represent totals of all known amounts. To
                        the extent there are unknown or undetermined amounts,
                        the actual total may be different than the listed total.
                 c.     Liens. Property and equipment listed in the Schedules
                        and Statements are presented without consideration of any
                        liens that may attach (or have attached) to such
                        property and equipment.

 15. Estimates and Assumptions. Because of the timing of the filings, management was
     required to make certain estimates and assumptions that affected the reported amounts
     of these assets and liabilities. Actual amounts could differ from those estimates, perhaps
     materially.
 16. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
 17. Intercompany. The listing in the Schedules or Statements (including, without limitation,
     Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor
     and another Debtor is a statement of what appears in the Debtors’ books and records and
     does not reflect any admission or conclusion of the Debtors regarding whether such amount
     would be allowed as a Claim or how such obligations may be classified and/or
     characterized in a plan of reorganization or by the Bankruptcy Court.
 18. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course
     of business. Offsets in the ordinary course can result from various items, including, without
     limitation, intercompany transactions, pricing discrepancies, returns, refunds, warranties,
     debit memos, credits, and other disputes between the Debtors and their suppliers and/or
     customers. These offsets and other similar rights are consistent with the ordinary course
     of business in the Debtors’ industry and are not tracked separately. Therefore, although
     such offsets and other similar rights may have been accounted for when certain amounts
     were included in the Schedules, offsets are not independently accounted for, and as such,
     are or may be excluded from the Debtors’ Schedules and Statements.
 19. Resident Names and Addresses. Resident and guardian names and addresses have been
     removed from the entries listed on the Schedules and Statements and have been replaced
     with reference to a unique resident number. Such redacted information is available upon
     entry of an order by the Bankruptcy Court authorizing the production of such redacted
     information.
 20. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
     the Global Notes shall control.


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                   Specific Disclosures with Respect to the Debtors’ Schedules
 Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtors’ assets
 as of September 10, 2019, unless otherwise noted below. Other than real property leases
 reported on Schedule A/B 55, the Debtors have not included leases and contracts on Schedule
 A/B. Leases and contracts are listed on Schedule G.

          Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
          as of September 10, 2019. Details with respect to the Debtors’ cash management
          system and bank accounts are provided in the Debtors’ Emergency Motion for Interim
          and Final Orders (I) Authorizing the Debtors to (A) Continue Using their Cash
          Management System and (B) Maintain Existing Bank Accounts and Business Forms;
          (II) Waiving Certain Deposit Guidelines; and (III) Granting Related Relief [Docket No.
          11] (the “Cash Management Motion”).
          Schedule A/B 11. Accounts receivable do not include intercompany receivables.
          Intercompany receivables are reported on Schedule A/B 77.
          Schedule A/B 15. Ownership interests in subsidiaries have been listed in Schedules
          A/B 15 as an undetermined amount because the fair market value of such ownership
          is dependent on numerous variables and factors and likely differs significantly from
          their net book value.
          Schedule A/B 55. The Debtors do not own any real property. The Debtors have also
          listed their real property leases in Schedule A/B 55, along with the Debtors leasehold
          improvements, if any.
          Schedule A/B 63. The Debtors maintain a resident database/list. The amount is listed
          as undetermined because the fair market value of such ownership cannot be
          determined.
          Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may have
          accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds,
          or warranty Claims. Additionally, certain of the Debtors may be a party to pending
          litigation in which the Debtors have asserted, or may assert, Claims as a plaintiff or
          counter-Claims as a defendant. Because such Claims are unknown to the Debtors and
          not quantifiable as of the Petition Date, they are not listed on Schedule A/B 74 or 75.
          The Debtors’ failure to list any contingent and/or unliquidated claim held by the
          Debtors in response to these questions shall not constitute a waiver, release,
          relinquishment, or forfeiture of such claim.
 Schedule D. The Claims listed on Schedule D arose or were incurred on various dates;
 a determination of the date upon which each Claim arose or was incurred would be
 unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
 Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.
 Reference to the applicable loan agreements and related documents is necessary for a complete
 description of the collateral and the nature, extent, and priority of liens. Nothing in the
 Global Notes or the Schedules and Statements shall be deemed a modification or
 interpretation of the terms of such agreements. Except as specifically stated on Schedule D,

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 real property lessors, utility companies, and other parties that may hold security deposits
 have not been listed on Schedule D. Nothing herein shall be construed as an admission by the
 Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to recharacterize
 or reclassify such Claim or contract, including by filing a claim objection or adversary
 proceeding in respect of same.
 Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
 are secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien rights.
 Schedule E/F part 2. The Debtors have used reasonable efforts to report all general unsecured
 Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’ books and records
 as of the Petition Date.
 Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
 would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a
 date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F
 part 2 may have been aggregated by unique creditor name and remit to address and may include
 several dates of incurrence for the aggregate balance listed.
 Schedule E/F part 2 contains information regarding pending litigation involving the Debtors.
 The dollar amount of potential Claims associated with any such pending litigation is listed as
 “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
 and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
 subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 may also
 include potential or threatened litigation claims. Any information contained in Schedule E/F
 part 2 with respect to such potential litigation shall not be a binding representation of the
 Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.
 The Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to pending
 litigation listed in the Debtors’ Statements 7, as contingent, unliquidated, and disputed claims,
 to the extent not already listed on Schedule E/F part 2.
 Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases.     Such prepetition amounts, however, may be paid in
 connection with the assumption, or assumption and assignment, of executory contracts or
 unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
 damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
 may be rejected.
 Schedule G. Certain information, such as the contact information of the counter-party, may
 not be included where such information could not be obtained using the Debtors’ reasonable
 efforts. Listing or omitting a contract or agreement on Schedule G does not constitute an
 admission that such contract or agreement is or is not an executory contract or unexpired lease,
 was in effect on the Petition Date, or is valid or enforceable. Certain of the leases and contracts
 listed on Schedule G may contain certain renewal options, guarantees of payment,
 indemnifications, options to purchase, rights of first refusal, and other miscellaneous rights.
 Such rights, powers, duties, and obligations are not set forth separately on Schedule G.
 Certain confidentiality and non-disclosure agreements may not be listed on Schedule
 G.



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 Certain of the contracts and agreements listed on Schedule G may consist of several parts,
 including, purchase orders, amendments, restatements, waivers, letters, and other documents
 that may not be listed on Schedule G or that may be listed as a single entry. In some cases, the
 same supplier or provider may appear multiple times on Schedule G. This multiple listing is
 intended to reflect distinct agreements between the applicable Debtor and such supplier or
 provider. The Debtors expressly reserve their rights to challenge whether such related
 materials constitute an executory contract, a single contract or agreement, or multiple, severable
 or separate contracts.
 The contracts, agreements, and leases listed on Schedule G may have expired, have been
 terminated or may have been modified, amended, or supplemented from time to time by
 various amendments, restatements, waivers, estoppel certificates, letters, memoranda and
 other documents, instruments, and agreements that may not be listed therein despite the
 Debtors’ use of reasonable efforts to identify such documents. Further, unless otherwise
 specified on Schedule G, each executory contract or unexpired lease listed thereon shall
 include all exhibits, schedules, riders, modifications, declarations, amendments, supplements,
 attachments, restatements, or other agreements made directly or indirectly by any agreement,
 instrument, or other document that in any manner affects such executory contract or unexpired
 lease, without respect to whether such agreement, instrument, or other document is listed
 thereon.
 In addition, the Debtors may have entered into various other types of agreements in the ordinary
 course of their businesses, such as subordination, nondisturbance, and attornment agreements,
 supplemental agreements, settlement agreements, amendments/letter agreements, title
 agreements and confidentiality agreements. Such documents may not be set forth on Schedule
 G. Certain of the executory agreements may not have been memorialized and could be subject
 to dispute. Executory agreements that are oral in nature have not been included on the Schedule
 G.
 Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors
 or guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H.
 The Debtors may not have identified certain guarantees associated with the Debtors’ executory
 contracts, unexpired leases, secured financings, debt instruments, and other such agreements.
 In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
 litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
 may assert cross-Claims and counter-Claims against other parties. Because the Debtors have
 treated all such Claims as contingent, disputed, or unliquidated, such Claims have not been
 set forth individually on Schedule H. Litigation matters can be found on each Debtor’s
 Schedule E/F part 2 and Statement 7, as applicable.
                  Specific Disclosures with Respect to the Debtors’ Statements
 Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtors
 within 90 days before the Petition Date except for those made to insiders (which payments
 appear in response to Statement question 4), employees, and bankruptcy professionals (which
 payments appear in Statement 11 and include any retainers paid to bankruptcy professionals).
 The amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check
 level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only
 one entry has been listed on Statement 3.

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 Statement 4. Statement 4 accounts for a respective Debtor’s intercompany transactions, as
 well as other transfers to insiders as applicable. With respect to individuals, the amounts listed
 reflect the universe of payments and transfers to such individuals including compensation,
 bonus (if any), expense reimbursement, relocation reimbursement, and/or severance.
 Amounts paid on behalf of such employee for certain life and disability coverage, which
 coverage is provided to all of the Debtors’ employees, has not been included.
 Statement 5.    Statement 5 excludes goods returned in the ordinary course of
 business.
 Statement 7. Any information contained in Statement 7 shall not be a binding representation
 of the Debtors’ liabilities with respect to any of the suits and proceedings identified therein.
 Statement 10. The Debtors occasionally incur losses for a variety of reasons, including theft
 and property damage. The Debtors, however, may not have records of all such losses if
 such losses do not have a material impact on the Debtors’ businesses or are not reported for
 insurance purposes.
 Statement 11. Out of an abundance of caution, the Debtors have included payments to all
 professionals who have rendered any advice related the Debtors’ bankruptcy proceedings
 in Statement 11. However, it is possible that the disclosed fees also relate to other, non-
 bankruptcy related services, and may include services rendered to other parties.
 Statement 26d. The Debtors have provided financial statements in the ordinary course of their
 businesses to numerous financial institutions, creditors, and other parties within two years
 immediately before the Petition Date. Considering the number of such recipients and the
 possibility that such information may have been shared with parties without the Debtors’
 knowledge or consent or subject to confidentiality agreements, the Debtors have not disclosed
 any parties that may have received such financial statements for the purposes of Statement
 26d.
 Statement 30. Unless otherwise indicated in a Debtor’s specific response to Statement 30,
 the Debtors have included a comprehensive response to Statement 30 in Statement 4.




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 Fill in this information to identify the case:

 Debtor name         Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         19-76271
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                     $7,777,352.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $11,936,211.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $11,215,481.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2019 to Filing Date                                                           Interest Income                                   $1,708.00


       For prior year:
       From 1/01/2018 to 12/31/2018                                                            Interest Income                                     $324.00


       For year before that:
       From 1/01/2017 to 12/31/2017                                                            Interest Income                                   $2,836.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy


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              Rivers, LLC


3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See SOFA Part 2, Question 3                                                                  $58,969.90                Secured debt
               Attachment                                                                                                             Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attached Intercompany Schedule                                                                  $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    See SOFA Part 7, Question 14                                                                                                Pending
               Attachment                                                                                                                  On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
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             Rivers, LLC

    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange              was made                      value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

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               Rivers, LLC



           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care
       15.1.     Absolut of Three Rivers                         Skilled Nursing Home                                                  120
                 101 Creekside Drive
                 Painted Post, NY 14870
                                                                 Location where patient records are maintained (if different from      How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 Resident's record are electronci through Point Click                  Check all that apply:
                                                                 Care and Rehab Optima.

                                                                 Off-site storage of paper records are at:

                                                                 Diamon & Beacorn
                                                                 93 Industrial Park Blvd.
                                                                 Elmira, NY 14901
                                                                 607-734-2937
                                                                                                                                          Electronically
                                                                                                                                          Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  NAME, ADDRESS, TELEPHONE NUMBER, SOCIAL SECURITY
                  NUMBER, BIRTH DATE, AMONG OTHER INFORMATION
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
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             Rivers, LLC

    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Diamon & Beacorn                                              -                                    Resident's records                      No
       93 Industrial Park Blvd.                                                                                                                   Yes
       Elmira, NY 14901



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Patients                                              M&T Bank                             Patient Trust Funds                        $1,778.47
       Three Rivers                                                  626 Commerce Drive
       101 Creekside Dr                                              Buffalo, NY 14228
       Painted Post, NY 14870

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Patients                                              M&T Bank                             Patient Trust Funds                        $5,391.92
       Three Rivers                                                  626 Commerce Drive
       101 Creekside Dr                                              Buffalo, NY 14228
       Painted Post, NY 14870

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Patients                                              M&T Bank                             Patient Trust Funds                        $5,391.92
       Three Rivers                                                  626 Commerce Drive
       101 Creekside Dr                                              Buffalo, NY 14228
       Painted Post, NY 14870




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             Rivers, LLC

       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Various Patients                                              DDMS                                 Patient Trust Funds                                   $13,228.02
       Three Rivers                                                  14155 Newbrook Drive
       101 Creekside Dr                                              Suite 200
       Painted Post, NY 14870                                        Chantilly, VA 20151

       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Various Patients                                              DDMS                                 Patient Trust Funds                                    $5,370.01
       Three Rivers                                                  14155 Newbrook Drive
       101 Creekside Dr                                              Suite 200
       Painted Post, NY 14870                                        Chantilly, VA 20151


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
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             Rivers, LLC

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Billit Information Technology, LLC                                                                                    Dates services
                    300 Gleed Avenue                                                                                                      rendered 1/1/17 -
                    East Aurora, NY 14052                                                                                                 current

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Bonadio & Co LLP                                                                                                      Dates services
                    Certified Public Accountants                                                                                          rendered 1/1/17 -
                    171 Sully's Trail                                                                                                     current
                    Pittsford, NY 14534

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Billit Information Technology, LLC
                    300 Gleed Avenue
                    East Aurora, NY 14052

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 GLORIA PRATT
       .                                                                                    7/31/19                  $13,753.96 - FOOD

                Name and address of the person who has possession of
                inventory records
                KATHY STEINER
                300 GLEED AVE.
                EAST AURORA, NY 14052




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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.2 GLORIA PRATT
       .                                                                                    8/31/19                  $10,755.59 - FOOD

               Name and address of the person who has possession of
               inventory records
               KATHY STEINER
               300 GLEED AVE.
               EAST AURORA, NY 14052


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       ABSOLUT FACILITIES                             255 WARNER AVENUE                                   MEMBER                                54
       MGMNT                                          ROSLYN HEIGHTS, NY 11577

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       ISRAEL SHERMAN                                 255 WARNER AVENUE                                   MEMBER                                45
                                                      Roslyn Heights, NY 11577

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       WILLIAM K LENHART                              400 SEASAGE DR                                      INDEPENDENT ADVISOR
                                                      APT 602
                                                      DELRAY BEACH, FL 33483
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       MICHAEL WYSE                                   85 BROAD ST                                         CHIEF RESTRUCTURING
                                                      18TH FLOOR                                          OFFICER
                                                      NEW YORK, NY 10004
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       PHILLIP HOFFMAN                                300 GLEED AVENUE                                    CFO
                                                      EAST AURORA, NY 14052

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       LORRY DOTTER                                   300 GLEED AVENUE                                    COO
                                                      EAST AURORA, NY 14052

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       SAMUEL SHERMAN                                 300 GLEED AVENUE                                    MEMBER                                1
                                                      EAST AURORA, NY 14052



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

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             Rivers, LLC



            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    1199 SEIU Regional Pension Fund                                                                            EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 16, 2019

 /s/ Michael Wyse                                                       Michael Wyse
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                  In re Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
                                                            Case No. 19-76271
         SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case

                                                                                            Dates of
          Creditor Name and Address               Reasons for payment or transfer          Payments          Total Amount or value
GRANDISON MANAGEMENT INC.
1413 38TH ST.
BROOKLYN NY 11218                                      AL-All Other - General                6/26/2019                          $4,305.01
GRANDISON MANAGEMENT INC.
1413 38TH ST.
BROOKLYN NY 11218                                      AL-All Other - General                  8/2/2019                         $3,000.00
GUTHRIE CLINIC LTD.
ONE GUTHRIE SQUARE
SAYRE PA 18840                                     AR-Accts Rec Ancillary Vendors            6/19/2019                          $7,333.33
GUTHRIE CLINIC LTD.
ONE GUTHRIE SQUARE
SAYRE PA 18840                                     AR-Accts Rec Ancillary Vendors            7/24/2019                          $7,366.66
GUTHRIE CLINIC LTD.
P.O. BOX 826911
PHILADELPHIA PA 19182-6911                         AR-Accts Rec Ancillary Vendors            8/14/2019                            $30.35
INSTANTWHIP
P.O. BOX 645592
CINCINNATI OH 45264-5592                               AL-All Other - General                7/17/2019                          $2,369.14
INSTANTWHIP
P.O. BOX 645592
CINCINNATI OH 45264-5592                               AL-All Other - General                8/23/2019                          $2,262.00
INSTANTWHIP
P.O. BOX 645592
CINCINNATI OH 45264-5592                               AL-All Other - General                9/10/2019                          $2,413.88
MEDICAL STAFFING NETWORK
P.O. BOX 840292
DALLAS TX 75284-0292                                         SF-Staffing                     7/29/2019                          $1,600.00
MEDICAL STAFFING NETWORK
P.O. BOX 840292
DALLAS TX 75284-0292                                         SF-Staffing                       8/5/2019                         $3,000.00



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                      Case 8-19-76260-ast        Doc 167     Filed 10/16/19      Entered 10/16/19 09:44:37
                                  In re Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
                                                            Case No. 19-76271
         SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case

                                                                                            Dates of
          Creditor Name and Address               Reasons for payment or transfer          Payments          Total Amount or value
MEDICAL STAFFING NETWORK
P.O. BOX 840292
DALLAS TX 75284-0292                                         SF-Staffing                     8/30/2019                          $4,820.39
NYSEG
P.O. BOX 847812
BOSTON MA 02284-7812                                         UT-Utilities                    7/17/2019                          $3,733.52
NYSEG
P.O. BOX 847812
BOSTON MA 02284-7812                                         UT-Utilities                    8/28/2019                          $5,752.62
TOWN OF ERWIN
310 TOWN CENTER RD.
PAINTED POST NY 14870                                        UT-Utilities                      7/3/2019                     $10,983.00
                                                                                                  Total:                    $58,969.90




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 Case 8-19-76260-ast           Doc 167    Filed 10/16/19         Entered 10/16/19 09:44:37
            In re Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
                                      Case No. 19-76271
           SOFA: Part 2, Question 4 -Intercompany Transfers as of August 31, 2019

             Due To                                   Due From                    Amount
Absolut at Three Rivers, LLC      Avante                                             -$653.54
Absolut at Three Rivers, LLC      Absolut Facilities Mgt, LLC                   $1,922,623.30




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                                    Case 8-19-76260-ast                Doc 167        Filed 10/16/19           Entered 10/16/19 09:44:37
                                                         In re Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
                                                                                   Case No. 19-76271
                                                                     SOFA Part 7, Question 14 - Previous addresses


                         Case Title and Case Number                       Nature of Case                                     Court or Agency and Location   Status of Case
EEOC decree v all facilities (from investigation Lisa Valentin)           ADA Discrimination                                 EEOC                           Settled - ongoing
PATIENT 45 v. Absolut Center for Nursing and Rehabilitation at Three
Rivers, LLC and Absolut Facilities Management, LLC                                                                           Steuben County
PATIENT 47 v. Absolut at Three Rivers

PATIENT 5763 vs. Absolut Facilities Management, LLC and Absolut Center
for Nursing and Rehabilitation at Three Rivers, LLC                                                                          Steuben County




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